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&lt;div&gt;24CA0015 Estate of Sturm 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0015 &lt;/div&gt;
&lt;div&gt;Jefferson &lt;span&gt;County District Court No. 21CV30119 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Todd L. Vriesman, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In the Matter of the &lt;span&gt;Estate of &lt;/span&gt;Sharon G. Sturm, deceased. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;John C. Taylor, Jr.&lt;span&gt;, and Sherril A. Sturm, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellees, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Bob L. Sturm Trust and Sharon G. Sturm Trust by the Trustee, Bob L. Sturm, &lt;/div&gt;
&lt;div&gt;Jr.&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellants. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDER REVERSED AND CASE &lt;/div&gt;
&lt;div&gt;REMANDED WITH DIRECTIONS&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VII &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE PAWAR &lt;/div&gt;
&lt;div&gt;Tow and Schutz, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Ross&lt;span&gt;-Shannon &amp;amp; Proctor, P.C., Joshua R. Proctor, Lakewood Colorado; Proctor &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Brant, P.C., Jesse O. Brant, Englewood, Colorado, for Appellee John C. Taylor, &lt;/div&gt;
&lt;div&gt;Jr.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;TNS Associates, P.C., William G. Dornan, Michael J. McNally, Jonathan R. Slie, &lt;/div&gt;
&lt;div&gt;Denver, Colorado, for Appellee Sherril A. Sturm &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The Klug Law Firm, LLC, Noah Klug, Breckenridge, Colorado, for Appellants&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this &lt;span&gt;case&lt;/span&gt;, a trust beneficiary who successfully sued the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trustee for breach of fiduciary duty was awarded his attorney fees &lt;/div&gt;
&lt;div&gt;and costs &lt;span&gt;to be paid from trust assets&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;We conclude that&lt;span&gt;&lt;/span&gt; section 15-&lt;/div&gt;
&lt;div&gt;10&lt;span&gt;-504(2), C.R.S. 2024, does not authorize such an &lt;span&gt;&lt;/span&gt;award to be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;paid from the trust.  In contrast, section 15-&lt;span&gt;10&lt;/span&gt;-602(7), C.R.S. 2024, &lt;/div&gt;
&lt;div&gt;could authorize such an award to be paid from the trust.  &lt;span&gt;&lt;/span&gt;But &lt;/div&gt;
&lt;div&gt;because the procedures set out in section 15-&lt;span&gt;10&lt;/span&gt;-602(7) were not &lt;/div&gt;
&lt;div&gt;followed in this case, we conclude that section cannot suppo&lt;span&gt;&lt;/span&gt;rt th&lt;span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fees and costs award here.  We therefore reverse the att&lt;span&gt;&lt;/span&gt;orney fees &lt;/div&gt;
&lt;div&gt;and costs award and remand with directions. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;span&gt;Sherril A. Sturm was the trustee of her parentsâ trusts, &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Bob L. Sturm Trust and Sharon G. Sturm Trust.  Th&lt;span&gt;&lt;/span&gt;e beneficiaries &lt;/div&gt;
&lt;div&gt;of both trusts were Sherril&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; and her siblings Bob L. Sturm, Jr., and &lt;/div&gt;
&lt;div&gt;John C. Taylor, Jr. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;span&gt;Taylor sued Sherril, the trusts, his motherâs estate, and B&lt;span&gt;&lt;/span&gt;ob &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Jr.  As relevant here, the action alleged that Sherril breached he&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Sherril and Bob Jr. share a surname.  We refer to them by their &lt;/div&gt;
&lt;div&gt;first names for ease of reference.  We intend no disrespect in doing &lt;/div&gt;
&lt;div&gt;so. &lt;/div&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPU45HEHUL&amp;amp;Expires=1728749066&amp;amp;Signature=S3bLkGmUu4BX%2BslcnEV4rGzeEKU%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEE8aCXVzLWVhc3QtMSJHMEUCIQCEz%2FJoE35KkK%2FDVo9HOAVh5o%2B7cBCxh6qZWNwCXPesKAIgXGllQXcYxsvVRmjHuMiHal%2BpNGLGikDpxYZI8NRrz6MquwUIqP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDEvf0j3fyjOmeoBNfSqPBdOxtb1QONnRC0oL%2FxW6CwZexvGvdVs5Gymtn6cEXCquDyaa%2FEhX5463jTe8jzGQfYY3OfXL%2B1ezl27pj2kEZDfLfz7xYS9yF%2FjXKvglhzozTChWSJiJ41T7jIbd4n9iKjWd12RczTXOlPdmEAJGX0A3OhyPm0UP%2B40aWXRweOJ8i3HzYXcaO05TdPa2jXNEM9K1RLDjPvRxUDFmOEvF8%2FD15tKr1cTaOdALebtVx0NqwvuCmFGwt92PpmcS8JGK%2FciTSRkD9ZYvImazMykt19N3%2BzzV8xF9suHYpi6cV35rC2nbLaKgVedb%2FiOf1Zrihur59fo0Cp3c%2FYC%2Fv7huO9TNTS7QKL%2BI06Ht9Qx2WmY3hru31%2FEU9ywbisD0d3g9taDiArXrINF%2F7xUs03GMGxV%2Bl85l9UojEWZgVxa9kHazjDRURHq5Lqww6xVfGOQftUscuCFoqYHprWUgzb2iGISaRpT7SMClQnsOQ9Z2vFaPFQ9GcIyy8MRX7VGDoo4wi1L%2BH%2BH0KMfk8WqRfXgaTKZTeNL6TjFkglKCMhuBmf8zVSL4iMU95yJ%2B5SC4V4B4jpWZNslEgcEla9XiXVMz%2B44%2BXSsY9kQbhZzNEUKdooA87YMt3bNGqbyKkJsMlT48cyKg1nPRir%2BZbd9LpUwtCEpkbXkw170t2eTQib1WzKTi0%2B0BRYJ%2F9uS6DIsdYFss8FsaJXZVu%2Bwh2alFsr8vFj7xs53tFKc1c2C1YbDVVDniUlgH0BBzmHWsr7WwY4Y9KTuEm3NwfqAaFAgMQimFgPxl9uezxtrUk%2BxQIblLOUCmNosPMhR6QzFYY6jeSpbta7Wlbi5qIb%2FNL8ZHQ9jUdpa%2BKTCWl0lTqNr1AhYmPv4wg5equAY6sQHNmQej5pxzfUcV0CJ7mFoImcJyVz5%2FfvDfTnjs5yi%2BmFSnDEgR4frtGf3YVzGBzFWjmByqs3dY7Nf0e13llw6%2FePlxREAit%2FjkW0GU%2FsoGOMUt1R%2FazDHC44KOcG7TG567Kdn1PXtxbYP8zZ4AApGGb%2By6ExRZroAk8f%2F5SAHVgKsvt5%2F8F3r8eB%2BcufQkXOp%2Bqy3U0U5Nq25Zrm860pZHm7u0YL15J7DL7KIjtjXFHj0%3D"&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;fiduciary duty by overcompensating herself as trustee and giving&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;herself and her uncle interest-free loans from the trusts.  The action &lt;/div&gt;
&lt;div&gt;sought damages and removal of Sherril as trustee. &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the summary judgment stage, the trial court determined &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the loans constituted a breach of fiduciary duty.&lt;span&gt;&lt;/span&gt;  However, the &lt;/div&gt;
&lt;div&gt;court ruled that there were disputed factual issues about whether &lt;/div&gt;
&lt;div&gt;She&lt;span&gt;rril also breached her fiduciary duty by overcompensatin&lt;span&gt;&lt;/span&gt;g &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;herself as trustee.  Accordingly, the court held a bench trial to &lt;/div&gt;
&lt;div&gt;determine (1) damages for the loans and (2) liability and damage&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;for the alleged overcompensation. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;At trial, Sherril agreed to her removal as trustee and the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determined that her overcompensation constituted a breach &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;fiduciary duty.  The court awarded damages for both &lt;span&gt;&lt;/span&gt;breaches.  The &lt;/div&gt;
&lt;div&gt;court also awarded Taylor his attorney fees and costs and r&lt;span&gt;&lt;/span&gt;uled &lt;/div&gt;
&lt;div&gt;that they âmay be charged against trust assets.â&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The court also awarded Sherril her attorney fees and costs &lt;span&gt;&lt;/span&gt;to be &lt;/div&gt;
&lt;div&gt;charged against trust assets but that award is not challenge&lt;span&gt;&lt;/span&gt;d in &lt;/div&gt;
&lt;div&gt;this appeal. &lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;Bob Jr., in his capacity as trustee for both trusts, appeals.  He &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argues that the trial court erred by ordering &lt;span&gt;Taylorâs fees and costs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;award &lt;span&gt;to&lt;/span&gt; be paid by the trusts.  We agree. &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Trial Court Erred &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;span&gt;Determining whether the trial court erred by chargin&lt;span&gt;&lt;/span&gt;g Taylorâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fees and costs to the trusts requires us to interpret the &lt;span&gt;&lt;/span&gt;relevant &lt;/div&gt;
&lt;div&gt;statutes.  We do so de novo, with the aim of giving effect t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;legislatureâs intent.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See In re Estate of Gonzalez&lt;span&gt;, 2024 COA 63, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶Â¶&lt;span&gt; 24, 32.  We determine legislative intent by examining t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statuteâs plain language and giving the words the legislature ch&lt;span&gt;&lt;/span&gt;ose &lt;/div&gt;
&lt;div&gt;their plain and ordinary meaning.  &lt;span&gt;Id.&lt;/span&gt; &lt;span&gt;at Â¶ 32.  If the statuteâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;language is clear and unambiguous, our analysis ends &lt;span&gt;th&lt;/span&gt;&lt;span&gt;ere&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;As identified above, the two separate attorney fees and costs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provisions relevant to this appeal are sections 15-&lt;span&gt;10&lt;/span&gt;-504(2) and 15-&lt;/div&gt;
&lt;div&gt;10&lt;span&gt;-602(7). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Section 15-&lt;span&gt;10&lt;/span&gt;-504(2) provides that if a court determines after &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a hearing that a fiduciary has breached their duty, âthe court may &lt;/div&gt;
&lt;div&gt;surcharge the fiduciary for any damage or loss to the estate, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPU45HEHUL&amp;amp;Expires=1728749066&amp;amp;Signature=S3bLkGmUu4BX%2BslcnEV4rGzeEKU%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEE8aCXVzLWVhc3QtMSJHMEUCIQCEz%2FJoE35KkK%2FDVo9HOAVh5o%2B7cBCxh6qZWNwCXPesKAIgXGllQXcYxsvVRmjHuMiHal%2BpNGLGikDpxYZI8NRrz6MquwUIqP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDEvf0j3fyjOmeoBNfSqPBdOxtb1QONnRC0oL%2FxW6CwZexvGvdVs5Gymtn6cEXCquDyaa%2FEhX5463jTe8jzGQfYY3OfXL%2B1ezl27pj2kEZDfLfz7xYS9yF%2FjXKvglhzozTChWSJiJ41T7jIbd4n9iKjWd12RczTXOlPdmEAJGX0A3OhyPm0UP%2B40aWXRweOJ8i3HzYXcaO05TdPa2jXNEM9K1RLDjPvRxUDFmOEvF8%2FD15tKr1cTaOdALebtVx0NqwvuCmFGwt92PpmcS8JGK%2FciTSRkD9ZYvImazMykt19N3%2BzzV8xF9suHYpi6cV35rC2nbLaKgVedb%2FiOf1Zrihur59fo0Cp3c%2FYC%2Fv7huO9TNTS7QKL%2BI06Ht9Qx2WmY3hru31%2FEU9ywbisD0d3g9taDiArXrINF%2F7xUs03GMGxV%2Bl85l9UojEWZgVxa9kHazjDRURHq5Lqww6xVfGOQftUscuCFoqYHprWUgzb2iGISaRpT7SMClQnsOQ9Z2vFaPFQ9GcIyy8MRX7VGDoo4wi1L%2BH%2BH0KMfk8WqRfXgaTKZTeNL6TjFkglKCMhuBmf8zVSL4iMU95yJ%2B5SC4V4B4jpWZNslEgcEla9XiXVMz%2B44%2BXSsY9kQbhZzNEUKdooA87YMt3bNGqbyKkJsMlT48cyKg1nPRir%2BZbd9LpUwtCEpkbXkw170t2eTQib1WzKTi0%2B0BRYJ%2F9uS6DIsdYFss8FsaJXZVu%2Bwh2alFsr8vFj7xs53tFKc1c2C1YbDVVDniUlgH0BBzmHWsr7WwY4Y9KTuEm3NwfqAaFAgMQimFgPxl9uezxtrUk%2BxQIblLOUCmNosPMhR6QzFYY6jeSpbta7Wlbi5qIb%2FNL8ZHQ9jUdpa%2BKTCWl0lTqNr1AhYmPv4wg5equAY6sQHNmQej5pxzfUcV0CJ7mFoImcJyVz5%2FfvDfTnjs5yi%2BmFSnDEgR4frtGf3YVzGBzFWjmByqs3dY7Nf0e13llw6%2FePlxREAit%2FjkW0GU%2FsoGOMUt1R%2FazDHC44KOcG7TG567Kdn1PXtxbYP8zZ4AApGGb%2By6ExRZroAk8f%2F5SAHVgKsvt5%2F8F3r8eB%2BcufQkXOp%2Bqy3U0U5Nq25Zrm860pZHm7u0YL15J7DL7KIjtjXFHj0%3D"&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;beneficiaries, or interested persons.â&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Â§ 15-&lt;span&gt;10&lt;/span&gt;-504(2)(a).  These &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;damages may include attorney fees and costs.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The clear and &lt;/div&gt;
&lt;div&gt;unambiguous language of this provision authorizes a surcharge &lt;/div&gt;
&lt;div&gt;against &lt;span&gt;âthe fiduciary,â not the &lt;/span&gt;estate. &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;In contrast, section 15-&lt;span&gt;10&lt;/span&gt;-602(7) authorizes an estate to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;compensate a lawyer or other person not appointed by t&lt;span&gt;&lt;/span&gt;he court for &lt;/div&gt;
&lt;div&gt;services or costs that result in an order benefitting the estate.  But &lt;/div&gt;
&lt;div&gt;there are various procedural prerequisites to such an awar&lt;span&gt;&lt;/span&gt;d, &lt;/div&gt;
&lt;div&gt;including filing a request for one within thirty-five days after entry &lt;/div&gt;
&lt;div&gt;of the order benefitting the estate.  Â§ 15-&lt;span&gt;10&lt;/span&gt;-602(7)(b)(I). &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Sherril and Taylor seem to recognize that neither section &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;504(2)(a) nor section 602(7) independently authorizes charging &lt;/div&gt;
&lt;div&gt;Taylorâs attorney fees and costs to the trusts.  They &lt;span&gt;&lt;/span&gt;do not argue &lt;/div&gt;
&lt;div&gt;that section 504(2)(a)âs authorization to surcharge âthe &lt;span&gt;&lt;/span&gt;fiduciaryâ &lt;/div&gt;
&lt;div&gt;includes authorization to surcharge the trusts.  And they &lt;span&gt;&lt;/span&gt;do not &lt;/div&gt;
&lt;div&gt;argue &lt;span&gt;that section 602(7)âs prerequisites were either satisfie&lt;span&gt;&lt;/span&gt;d or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inapplicable for some reason. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The trusts at issue in this appeal each qualify as an estat&lt;span&gt;&lt;/span&gt;e for &lt;/div&gt;
&lt;div&gt;purposes of the cited statutes.  &lt;span&gt;See&lt;/span&gt; Â§ 15-&lt;span&gt;10&lt;/span&gt;-601(1), C.R.S. 2024. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf5" data-dest-detail='[5,"XYZ",69,104,null]'&gt;&lt;div style="border-style:none;position:absolute;left:407.879444px;bottom:877.999444px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;Instead, they &lt;span&gt;argue the trial courtâs award should be affirmed &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;based on section 15-&lt;span&gt;10&lt;/span&gt;-504(2)(b), which says, &lt;span&gt;âIn awarding attorney &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fees and costs pursuant to this section, a court may consi&lt;span&gt;&lt;/span&gt;der the &lt;/div&gt;
&lt;div&gt;provisions of part 6 of this article 10.â  This âmay considerâ &lt;/div&gt;
&lt;div&gt;language, according to Sherril and Taylor, allowed the court to &lt;/div&gt;
&lt;div&gt;charge Taylorâs fees and costs to the trusts&lt;span&gt; instead of the &lt;span&gt;&lt;/span&gt;fiduciary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Sherril) under section 504(2) without having to comply with any &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;section 602(7)âs procedures.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;span&gt;In essence, they argue that section 504(2)(b)âs âmay consi&lt;span&gt;&lt;/span&gt;derâ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;language allows a trial court to take two independent mechanism&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;for awarding fees and costs (sections 504(2) and 602(7)), cherry-&lt;/div&gt;
&lt;div&gt;pick discrete elements from each, and use only the selected &lt;/div&gt;
&lt;div&gt;elements to create an entirely new third mechanism.  From section &lt;/div&gt;
&lt;div&gt;602(7), Sherril and Taylor take the authority to char&lt;span&gt;&lt;/span&gt;ge attorney fees &lt;/div&gt;
&lt;div&gt;and costs against the estate &lt;span&gt;â&lt;/span&gt; but not the procedural requirements &lt;/div&gt;
&lt;div&gt;that go with it&lt;span&gt;.  &lt;/span&gt;Sherril and Taylor combine that with section &lt;/div&gt;
&lt;div&gt;504(2)âs authority to surcharge&lt;span&gt; attorney fees and costs as dam&lt;span&gt;&lt;/span&gt;ages.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The end result, according to Sherril and Taylor, is autho&lt;span&gt;&lt;/span&gt;rity to &lt;/div&gt;
&lt;div&gt;surcharge attorney fees and costs as damages against t&lt;span&gt;&lt;/span&gt;he estate &lt;/div&gt;
&lt;div&gt;without adhering to section 602(7)âs procedures&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPU45HEHUL&amp;amp;Expires=1728749066&amp;amp;Signature=S3bLkGmUu4BX%2BslcnEV4rGzeEKU%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEE8aCXVzLWVhc3QtMSJHMEUCIQCEz%2FJoE35KkK%2FDVo9HOAVh5o%2B7cBCxh6qZWNwCXPesKAIgXGllQXcYxsvVRmjHuMiHal%2BpNGLGikDpxYZI8NRrz6MquwUIqP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDEvf0j3fyjOmeoBNfSqPBdOxtb1QONnRC0oL%2FxW6CwZexvGvdVs5Gymtn6cEXCquDyaa%2FEhX5463jTe8jzGQfYY3OfXL%2B1ezl27pj2kEZDfLfz7xYS9yF%2FjXKvglhzozTChWSJiJ41T7jIbd4n9iKjWd12RczTXOlPdmEAJGX0A3OhyPm0UP%2B40aWXRweOJ8i3HzYXcaO05TdPa2jXNEM9K1RLDjPvRxUDFmOEvF8%2FD15tKr1cTaOdALebtVx0NqwvuCmFGwt92PpmcS8JGK%2FciTSRkD9ZYvImazMykt19N3%2BzzV8xF9suHYpi6cV35rC2nbLaKgVedb%2FiOf1Zrihur59fo0Cp3c%2FYC%2Fv7huO9TNTS7QKL%2BI06Ht9Qx2WmY3hru31%2FEU9ywbisD0d3g9taDiArXrINF%2F7xUs03GMGxV%2Bl85l9UojEWZgVxa9kHazjDRURHq5Lqww6xVfGOQftUscuCFoqYHprWUgzb2iGISaRpT7SMClQnsOQ9Z2vFaPFQ9GcIyy8MRX7VGDoo4wi1L%2BH%2BH0KMfk8WqRfXgaTKZTeNL6TjFkglKCMhuBmf8zVSL4iMU95yJ%2B5SC4V4B4jpWZNslEgcEla9XiXVMz%2B44%2BXSsY9kQbhZzNEUKdooA87YMt3bNGqbyKkJsMlT48cyKg1nPRir%2BZbd9LpUwtCEpkbXkw170t2eTQib1WzKTi0%2B0BRYJ%2F9uS6DIsdYFss8FsaJXZVu%2Bwh2alFsr8vFj7xs53tFKc1c2C1YbDVVDniUlgH0BBzmHWsr7WwY4Y9KTuEm3NwfqAaFAgMQimFgPxl9uezxtrUk%2BxQIblLOUCmNosPMhR6QzFYY6jeSpbta7Wlbi5qIb%2FNL8ZHQ9jUdpa%2BKTCWl0lTqNr1AhYmPv4wg5equAY6sQHNmQej5pxzfUcV0CJ7mFoImcJyVz5%2FfvDfTnjs5yi%2BmFSnDEgR4frtGf3YVzGBzFWjmByqs3dY7Nf0e13llw6%2FePlxREAit%2FjkW0GU%2FsoGOMUt1R%2FazDHC44KOcG7TG567Kdn1PXtxbYP8zZ4AApGGb%2By6ExRZroAk8f%2F5SAHVgKsvt5%2F8F3r8eB%2BcufQkXOp%2Bqy3U0U5Nq25Zrm860pZHm7u0YL15J7DL7KIjtjXFHj0%3D"&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;This interpretation of the statutory scheme is unreasonable.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Instead, the only reasonable interpretation is that sections 5&lt;span&gt;&lt;/span&gt;04(2) &lt;/div&gt;
&lt;div&gt;and 602(7) are separate and distinct provisions under which &lt;span&gt;&lt;/span&gt;fees &lt;/div&gt;
&lt;div&gt;and costs can be awarded.  Section 504(2) allows fees and &lt;span&gt;&lt;/span&gt;costs to &lt;/div&gt;
&lt;div&gt;be awarded as damages, but only so long as they are charged t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;fiduciary.  Separately, an award under section 602(7) &lt;span&gt;&lt;/span&gt;is chargeable &lt;/div&gt;
&lt;div&gt;to the estate&lt;span&gt;, &lt;/span&gt;but it requires compliance with the procedures set out &lt;/div&gt;
&lt;div&gt;in section 602(7)(b)(I)-(IV).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Absent compliance with the entirety of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;one of these provisions, Taylor is responsible for his own fees and &lt;/div&gt;
&lt;div&gt;costs.&lt;span&gt;  &lt;span&gt;See Guarantee Tr. Life Ins. Co. v. Est. of Casper&lt;span&gt;, 2018 CO 43, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23 (parties are generally responsible for their own litigation &lt;/div&gt;
&lt;div&gt;expenses absent a contrary applicable provision). &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;span&gt;We conclude that Taylorâs award was not authorized by either &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provision.  Section 504(2) does not authorize a surcharge to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;trusts, and although section 602(7) does, nobody argues that the &lt;/div&gt;
&lt;div&gt;procedural requirements of that provision were satisfied.  In so &lt;/div&gt;
&lt;div&gt;holding, we express no opinion about whether Taylorâs fees an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; As set out above, &lt;span&gt;a &lt;/span&gt;section &lt;span&gt;15&lt;/span&gt;&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;-602(7), C.R.S. 2024, award also &lt;/div&gt;
&lt;div&gt;requires that a lawyer or other person not appointed by t&lt;span&gt;&lt;/span&gt;he court &lt;/div&gt;
&lt;div&gt;provides services that result in an order beneficial to t&lt;span&gt;&lt;/span&gt;he estate. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:315.560000px;bottom:584.021111px;width:10.090000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;costs can be charged to Sherril as the fiduciary under secti&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;504(2)(a). &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Appellate Attorney Fees and Costs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trusts and Sherril request their appellate fees and costs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Taylor does not).  &lt;span&gt;We address only the trustsâ request because t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is the only one supported by citation to authority.  &lt;span&gt;See Andres &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Trucking Co. v. United Fire &amp;amp; Cas. &lt;span&gt;Co.&lt;/span&gt;&lt;span&gt;, 2018 COA 144, Â¶ 63 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(declining to consider request for appellate fees presented wit&lt;span&gt;&lt;/span&gt;hout &lt;/div&gt;
&lt;div&gt;legal or factual basis). &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;The trusts argue that they are entitled to recover their &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appellate attorney fees and costs under section 504(2), surcharge&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;to Sherril as the party who breached her fiduciary duty &lt;span&gt;&lt;/span&gt;as trustee.  &lt;/div&gt;
&lt;div&gt;We decline this request.  &lt;span&gt;See&lt;/span&gt; Â§ 15-&lt;span&gt;10&lt;span&gt;-&lt;/span&gt;&lt;/span&gt;&lt;span&gt;504(2) (a court âmayâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;surcharge the fiduciary for fees and costs).&lt;span&gt;  &lt;/span&gt;Unlike &lt;span&gt;In re Estat&lt;span&gt;&lt;/span&gt;e of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ybarra&lt;span&gt;, 2024 COA 3, Â¶ 30, the trusts are not challenging &lt;span&gt;&lt;/span&gt;the courtâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determination that Sherril breached her fiduciary duty, &lt;span&gt;&lt;/span&gt;nor the &lt;/div&gt;
&lt;div&gt;amount of damages that breach caused.  The trusts are ch&lt;span&gt;&lt;/span&gt;allenging &lt;/div&gt;
&lt;div&gt;only the trial &lt;span&gt;courtâs decision to charge &lt;/span&gt;a portion of the damages &lt;/div&gt;
&lt;div&gt;(Taylorâs attorney fees and costs) to the trusts.  Because th&lt;span&gt;is issue &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is at least slightly attenuated from Sherrilâs breach of f&lt;span&gt;&lt;/span&gt;iduciary &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;duty, we decline to award the trusts their appellate attorney fee&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;and costs under section 504(2). &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;The attorney fees and costs award to Taylor is reversed, and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the case is remanded to the trial court for further proceedings &lt;/div&gt;
&lt;div&gt;consistent with this opinion. &lt;/div&gt;
&lt;div&gt;JUDGE TOW and JUDGE SCHUTZ concur.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
